To:        Maria Suarez[Msuarez@sgws.com]
           Case 2:19-cv-07271-GRB-LGD           Document       39-30 Filed 01/03/23 Page 1 of 1 PageID #: 647
Cc:
From:
           Elizabeth Toohig[etoohig@southernwine.com]
           John Wilkinson[jwilkinson@southernwine.com]
                                                                                                 EXHIBIT 28
Sent:      Wed 1/25/2017 11:44:55 PM (UTC)
Subject:   PIP Review Tuesday 1/24/17

 Maria,
 As discussed in yesterdays meeting with Tonisha Durant we reviewed the following.
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      1. You made an error on Monday that caused an issue for transfers coming from 225 which also could have affected
         production but did not because the error occurred before consolidation. You were closing some outstanding tasks from
         12/23/16 and had many screens open. One of those screens had tasks from 1/23/17 and you accidentally cancel the task
         because you thought it was 12/23 and not 1/23. 25 tasks were killed and of those 22 were automatically regenerated by
         consolidation. The other 3 needed to be worked on by Eric Meyer at night to resolve the issue
      2. Open POs from December are OK per our discussion with Tonisha but you need to keep nagging accounting to fix their
         end. Also the ones from September that are still open require you to keep sending notices and Tonisha will apply additional
         pressure to get the matter resolved.
      3. You are working on stock locator issues every day and you have moved missing product to inventory research category.
         That category is currently approximately 200 items. Tonisha was OK with consuming items of less than two cases that have
         no history. I also offered my help and my managers help to locate product if you needed it so we could reduce the 200
         items.
      4. Task management issues that go back to December you stated would be completed by the end of the day on 1/24/17.
         Tonisha and I agreed that that would be OK.
      5. Cycle counts are ongoing but behind due to the sheer size of all the daily variances. Tonisha and I agreed that it would be a
         good idea if you completed fewer counts but all counts were reconciled daily. We also stated that updates to the cycle
         counts for research cannot wait until the end of the day as there is no time to research.
      6. Wave management is being handled by Jen Moore for day bills and Barry F is doing the closing of wave management on
         night bills. Tonisha and I agreed that you should once again take this responsibility over on 2/1/17
      7. Pick/Pack is being worked daily. One issue is the Syracuse transfers and we need to find out why the pick tickets are not
         matching the invoices.
      8. You stated that the Z/Y report is being handled daily and when there are issues you receive emails and fix immediately
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 Tonisha and I stated that while the inventory is not in great or even good shape that you need to keep pushing as hard as you can
 to clean it up. We offered our assistance again to facilitate any areas that you are running into issues.
 We will meet again next Tuesday in order to progress with improvements.
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